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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )    8:10CR192
                                              )
               vs.                            )    ORDER
                                              )
TERRY L. MOUNTAIN,                            )
                                              )
                       Defendant.             )



       Upon Motion of the United States (Filing No. 125),

       IT IS ORDERED:

       The Clerk of the District Court is authorized to provide to the United States a photocopy of

the Plea Agreement pertaining to Terry Mountain filed in this case, for the purpose of production to

defense counsel in U.S. v. Fontri Tiller & Joseph Love, 8:10CR194.

       DATED this 28th day of January, 2011.

                                                       BY THE COURT:

                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
